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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       NORTHERN DIVISION
                                             ______

MICHAEL GRESHAM,

                           Plaintiff,                           Case No. 2:16-cv-71
v.                                                              Honorable Paul L. Maloney
PAMELA AUSTIN et al.,

                           Defendants.
____________________________/

                                  ORDER FOR PARTIAL DISMISSAL
                                      and PARTIAL SERVICE

                  In accordance with the Opinion filed this date:

                  IT IS ORDERED that Plaintiff’s action against Defendant Caron be DISMISSED

WITH PREJUDICE for failure to state a claim upon which relief may be granted pursuant to 28

U.S.C. §§ 1915(e) and 1915A, and 42 U.S.C. § 1997e(c).

                  IT IS FURTHER ORDERED that, in accordance with Administrative Order

No. 03-029, the Clerk shall return to Plaintiff with a copy of this order one copy of the complaint

and any exhibits.

                  IT IS FURTHER ORDERED that, in accordance with W.D. Mich. LCivR 10.4

and Administrative Order 03-029,1 Plaintiff shall, immediately upon receipt of this order, request

that the prison make 8 copies of the complaint and exhibits for service upon Defendants Austin,

Lese, Eagle, Smith, Niemisto, Napel, Alexander, and Rourke. Plaintiff is responsible for the cost


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 When service is to be made by the United States Marshal, as in this case, the Court’s local rules require litigants to
provide sufficient copies of their documents for service when the documents are filed. W.D. Mich. LCivR 10.4.
Under Administrative Order 03-029, Plaintiff was excused from providing additional copies of his complaint until the
Court determined that service was warranted.
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of the copies. If Plaintiff does not have sufficient funds to pay for the copies, the Michigan

Department of Corrections provides loans for legal copies. See Mich. Dep’t of Corr. Policy

Directive 05.03.116.

               IT IS FURTHER ORDERED that within fourteen (14) days of this order, Plaintiff

shall file with the Court the requisite number of copies of the complaint and exhibits along with a

copy of this order OR an affidavit explaining why Plaintiff is unable to provide the requested

copies within the fourteen-day period. Should the Court find that the prison failed to make copies

upon Plaintiff’s request, the Court will direct the Clerk to make such copies as may be necessary

and to charge the Michigan Department of Corrections for the cost of copying at the Court’s usual

rate of $.50 per page.

               IT IS FURTHER ORDERED that Plaintiff’s failure to submit the requested

copies within the time provided by the Court or an affidavit explaining why Plaintiff is unable to

provide the requested copies may result in the dismissal of his action without prejudice by the

Court.

               IT IS FURTHER ORDERED that upon receipt of the copies required by this

order, the Clerk shall forward the complaint to the U.S. Marshals Service, which is authorized to

mail a request for waiver of service to Defendants Austin, Lese, Eagle, Smith, Niemisto, Napel,

Alexander, and Rourke in the manner prescribed by Fed. R. Civ. P. 4(d)(2). If waiver of service

is unsuccessful, summons shall issue and be forwarded to the U.S. Marshals Service for service

under 28 U.S.C. § 1915(d).

               IT IS FURTHER ORDERED that the Defendants Austin, Lese, Eagle, Smith,

Niemisto, Napel, Alexander, and Rourke shall file an appearance of counsel (individual

Defendants may appear pro se if they do not have counsel) within 21 days of service or, in the case



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of a waiver of service, 60 days after the waiver of service was sent. Until so ordered by the Court,

no Defendant is required to file an answer or motion in response to the complaint, and no default

will be entered for failure to do so. See 42 U.S.C. § 1997e(g)(1). After a Defendant has filed an

appearance, proceedings in this case will be governed by the Court’s Standard Case Management

Order in a Prisoner Civil Rights Case.



Dated:    September 6, 2018                          /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge




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